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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION


 DAMIAN FITZGERALD MILLER,

                        Petitioner,

 vs.                                     Case No.   2:07-cv-685-FtM-29DNF
                                         Case No.    2:03-cr-74-FtM-29DNF

 UNITED STATES OF AMERICA,

                     Respondent.
 ___________________________________


                             OPINION AND ORDER

       This   matter comes before the Court on petitioner Damian

 Fitzgerald Miller’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

 Aside, or Correct Sentence By a Person in Federal Custody (Cv. Doc.

 #1; Cr. Doc. #230)1 filed on October 22, 2007.2         The United States

 filed its Response in Opposition to Petitioner’s Motion to Vacate,

 Set Aside, or Correct Sentence, Pursuant to 28 U.S.C. § 2255 (Cv.

 Doc. #7) on December 27, 2007.          Petitioner filed a Response to

 Respondent’s Opposition (Cv. Doc. #10) on January 25, 2008.




       1
       The Court will make references to the dockets in the instant
 action and in the related criminal case throughout this Opinion and
 Order. The Court will refer to the docket of civil habeas case as
 “Cv. Doc.”, and will refer to the underlying criminal case as “Cr.
 Doc.”
       2
       Petitioner filed an identical motion on November 5, 2007 (Cv.
 Doc. #6).   This will be dismissed as redundant of the original
 motion.
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                                      I.

        On June 25, 2003, a federal grand jury in Fort Myers, Florida

 filed a twelve-count Indictment (Cr. Doc. #39) naming petitioner

 Damian Fitzgerald Miller (petitioner or Miller) and four other

 defendants. Petitioner was charged in Count One with conspiracy to

 possess with intent to distribute 5 kilograms or more of cocaine;

 in Count Six with using and carrying a firearm and possession of a

 firearm in furtherance of a drug trafficking crime; in Count

 Eleven with possession of a firearm by a convicted felon; and in

 Count Twelve with possession of a firearm by an illegal alien.

 After a jury trial, petitioner was convicted of all four counts

 (Cr.    Doc.   #113)   and   sentenced     to   a   total   of   188   months

 imprisonment, followed by 60 months imprisonment (Cr. Doc. #143).

 Petitioner’s convictions and sentences were affirmed in United

 States v. Paisley, 178 Fed. Appx. 955 (11th Cir. 2006).

        The factual background of the case was summarized by the

 Eleventh Circuit:

        This case arises out of a government-created reverse
        sting operation in which an undercover government agent,
        Bureau of Alcohol, Tobacco and Firearms Special Agent
        Richard Zayas, posed as a disgruntled courier for a
        Colombian drug cartel. Zayas represented that he was
        looking for persons to assist him in robbing his
        employers and initiated a plan to rob his employer's
        fictitious “stash house” supposedly housing 20 to 30
        kilograms of cocaine and large amounts of cash.
        At Zayas' request, a confidential informant (“CI”)
        introduced Zayas to Rohan McKay, an individual suspected
        of being involved with home invasion robberies in
        Florida. Zayas informed McKay that the stash house was

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       guarded by two men, at least one of whom was armed, and
       contained 20 to 30 kilograms of cocaine and large amounts
       of cash. McKay joined with Zayas and the CI to rob the
       stash house. In discussions regarding details of the
       robbery, it was decided that McKay would secure a “crew”
       to assist in robbing the stash house of the cocaine and
       cash. It was also planned that McKay, his “crew,” and the
       CI were to meet Zayas on May 30, 2003, at a Super 8 Motel
       in Naples, Florida, from which they would leave to rob
       the stash house.
       Needing a crew to help rob the stash house, McKay called
       on the services of a friend McKay knew had experience in
       this kind of crime to assist him in recruiting
       “experienced people” to help carry out the robbery. That
       friend called on Appellant Paisley. Paisley met twice
       with McKay to go over the details of the robbery. McKay
       testified at trial that he told Paisley about the plans
       to rob the stash house, specifically stating that they
       would steal about “30 kilos of coke” and “about a couple
       hundred thousand in cash.” Paisley agreed to participate
       in the robbery. Paisley brought two of his associates,
       Appellants Miller and Jones, to these two initial
       meetings with McKay. During both meetings, Miller and
       Jones stayed in another vehicle while Paisley discussed
       the details of the robbery with McKay. McKay testified he
       never discussed the robbery details with Miller and
       Jones.
       The morning after Paisley met with McKay, McKay and the
       CI met with Paisley and the three other appellants,
       Miller, Jones and Allen. After stopping at a nearby Home
       Depot for “tie straps” to use as handcuffs, the six then
       drove to Naples, Florida in order to meet Zayas at the
       Super 8 Motel parking lot. McKay and the CI led in his
       car, and the four Appellants followed in Paisley's van.
       Upon arrival at the motel, Paisley pulled in near the
       motel office where Appellant Jones left the van and went
       inside the motel lobby, engaging in tactics federal
       agents   testified   were   consistent    with   “counter
       surveillance.”

       While Jones was “casing” the lobby, Paisley parked the
       van close to Zayas, who was already parked at the motel.
       Once Paisley was parked, Zayas got out of his car and
       went to the van to discuss the robbery plans with
       Paisley, Miller, and Allen. Zayas specifically told the
       three that there would be two men at the stash house,
       that there were 25 to 30 “keys of coke,” and explained

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       that when they got there, one of the two men at the stash
       house would go back to get the cocaine while the other
       would stay with Zayas. Zayas finally stated, “we're going
       to split it even, right? Is that cool with all you guys?”
       No one in the van protested, acted surprised, or asked
       for clarification. Zayas looked at each occupant and
       confirmed that each one was “straight” with the plan.
       After confirming Paisley, Allen, and Miller were
       “straight” with the plan, Zayas walked toward the motel
       lobby and encountered Appellant Jones walking toward the
       van. Zayas asked if Jones was “with these guys,” and then
       told Jones the robbery plan-that there would be two guys
       at the house, that one guy had a gun, the other did not,
       and that “there's 20 to 25 keys of coke in there.” Zayas
       asked Jones if he was “cool” and stated, “we're splitting
       the coke even, bro.” Jones answered “all right.”
       Immediately after Zayas's conversation with Jones, law
       enforcement agents moved in to arrest McKay and the four
       Appellants. As the agents moved in, Appellant Allen
       attempted to flee but was brought down to the ground with
       rubber bullets. A loaded firearm fell from Allen's
       waistband, and agents seized a two-way radio. Agents also
       seized a two-way radio from Paisley along with a knife.
       Agents seized loaded handguns from both Jones and Miller.
       A search of the van revealed multiple guns, ammunition,
       and a blue duffel bag containing flex cuffs and duct
       tape.
       McKay pled guilty and testified at trial for the
       government against Paisley, Miller, Allen, and Jones. A
       jury found all Appellants guilty as charged.


 Paisley, 178 Fed. Appx. at 957-58.

       Petitioner’s petition for a writ of certiorari was denied by

 the United States Supreme Court on October 30, 2006.             Miller v.

 United States, 127 S. Ct. 538 (2006).            Petitioner has filed a

 timely motion under 28 U.S.C. § 2255 alleging claims of ineffective

 assistance of counsel and errors by the court during trial and

 sentencing.



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                                       II.

       The legal principles concerning ineffective assistance of

 counsel are well settled. The Supreme Court established a two-part

 test for determining whether a convicted person is entitled to

 habeas relief on the ground that his or her counsel rendered

 ineffective assistance: (1) whether counsel’s representation was

 deficient,        i.e.,   “fell    below     an    objective     standard    of

 reasonableness” “under prevailing professional norms”; and (2)

 whether the deficient performance prejudiced the defendant, i.e.,

 there   was   a    reasonable     probability     that,   but   for   counsel’s

 unprofessional errors, the result of the proceeding would have been

 different.        Strickland v. Washington, 466 U.S. 668, 688, 694

 (1984).    See also Rompilla v. Beard, 545 U.S. 374, 380 (2005);

 Wiggins v. Smith, 539 U.S. 510, 521 (2003); Williams v. Taylor, 529

 U.S. 362 (2000).          A court must “judge the reasonableness of

 counsel’s conduct on the facts of the particular case, viewed as of

 the time of counsel’s conduct.”             Roe v. Flores-Ortega, 528 U.S.

 470, 477 (2000) (quoting Strickland, 466 U.S. at 690).                      This

 judicial scrutiny is “highly deferential.”                Id.    A court must

 adhere to a strong presumption that counsel’s conduct falls within

 the wide range of reasonable professional assistance.             Strickland,

 466 U.S. at 689-90.       An attorney is not ineffective for failing to

 raise or preserve a meritless issue.           Ladd v. Jones, 864 F.2d 108,

 109-10 (11th Cir. 1989); United States v. Winfield, 960 F.2d 970,

 974 (11th Cir. 1992).
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       The same deficient performance and prejudice standards apply

 to appellate counsel.        Smith v. Robbins, 528 U.S. 259, 285-86

 (2000); Roe v. Flores-Ortega, 528 U.S. at 476-77.               If the Court

 finds there has been deficient performance, it must examine the

 merits of the claim omitted on appeal.           If the omitted claim would

 have had a reasonable probability of success on appeal, then the

 deficient performance resulted in prejudice.              Joiner v. United

 States, 103 F.3d 961, 963 (11th Cir. 1997).          Nonmeritorious claims

 which are not raised on direct appeal do not constitute ineffective

 assistance of counsel.      Diaz v. Sec’y for the Dep’t of Corr., 402

 F.3d 1136, 1144-45 (11th Cir. 2005).

       The other applicable legal principles will be discussed below

 as necessary to address the specific issues.

                                     III.

                                      A.

       In Ground One, petitioner alleges that his attorney provided

 constitutionally ineffective assistance by failing to properly

 investigate and adequately prepare any sufficient defenses or

 affirmative defenses to the charges in the Indictment.            Petitioner

 asserts that the object of the conspiracy alleged in Count One was

 “a    disadvantageously       unfair       and     completely     inaccurate

 misrepresentation of the facts presented at trial, . . .”               (Cr.

 Doc. #1, p. 5(b).)        Petitioner argues that the trial evidence

 established that the object of the conspiracy was not to possess


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 with intent to distribute or the distribution of cocaine, but

 rather to commit a home invasion-type robbery which could have been

 prosecuted under the Hobbs Act, 18 U.S.C. § 1951.             Petitioner also

 argues that the evidence related to splitting the cocaine they

 would rob and distribute evenly among themselves did not satisfy

 “distribute” within the meaning of 21 U.S.C. § 841(a), but rather

 was a reference to the split and distribution of the proceeds from

 the robbery. Further, petitioner argues that there was no evidence

 that he or his co-defendants were ever involved in past drug

 distribution activities, or that their intent in the indicted

 venture was to possess with intent to distribute cocaine, or that

 they ever expressed any particular preference regarding the share

 of the proceeds being cocaine or currency.             Petitioner argues that

 since his counsel failed to make any of these challenges to the

 nature of the charges brought in the Indictment, how the facts at

 trial   related   to   the    charges,     or    the   government’s    repeated

 misleading characterizations of the evidence, counsel provided

 ineffective assistance.       (Doc. #1, pp. 5(a)-(e).)

       There was no ineffective assistance of counsel with regard to

 counsel’s    failure   to    challenge     the   conspiracy   charge    in   the

 Indictment. In general, an indictment is sufficient if it (1) sets

 forth the elements of the offense in a manner which fairly informs

 defendant of the charge he or she must defend, and (2) enables

 defendant to enter a plea which will bar future prosecution for the

 same offense.     Hamling v. United States, 418 U.S. 87, 117 (1974);

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 United States v. Poirier, 321 F.3d 1024, 1028 (11th Cir. 2003).

 The Indictment in this case complies with these requirements, and

 there   was   no    basis   on   which      counsel    could    have    reasonably

 challenged Count One, or any count, of the Indictment.

       Petitioner argues that there was insufficient evidence to

 convict him of the drug conspiracy. Petitioner raised the issue of

 sufficiency of evidence at trial on direct appeal.                  The Eleventh

 Circuit reviewed the matter de novo and concluded that the evidence

 was sufficient to support petitioner’s conviction for conspiracy to

 possess    with    intent   to   distribute     five   kilograms       or   more   of

 cocaine.    Paisley, 178 Fed. Appx. at 958.            Prior disposition of an

 issue on direct appeal generally precludes further review in a

 subsequent § 2255 proceeding.            United States v. Nyhuis, 211 F.3d

 1340, 1343 (11th Cir. 2000); Mills v. United States, 36 F.3d 1052,

 1056 (11th Cir. 1994), cert. denied, 514 U.S. 1112 (1995). Nothing

 in the present case would allow petitioner to re-litigate the issue

 of sufficiency of the evidence already resolved by the Eleventh

 Circuit.

       Petitioner’s argument in his Reply that the Eleventh Circuit

 did not squarely address the sufficiency of the evidence of his

 intent (Cv. Doc. #10, pp. 1-2, 3-5) is simply incorrect.                           The

 Eleventh Circuit stated that an element of the offense was the

 intent to distribute five kilograms or more of cocaine, Paisley,

 178 Fed. Appx. at 958, and then stated: “With these principles in

 mind,   and   when    viewed     in   the    light    most     favorable    to     the


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 government, the evidence in the record is sufficient to uphold each

 of Miller’s, Jones’s and Allen’s convictions for conspiracy to

 possess    with    intent   to    distribute    five     kilograms     or   more   of

 cocaine.” Id. at 959.            After highlighting certain evidence, the

 Eleventh Circuit continued: “In addition to the evidence stated

 above, the evidence specific to Appellant Miller justifies the

 Court’s conclusion that the evidence is sufficient to establish

 Miller’s guilt beyond a reasonable doubt.” Id.

       Petitioner also alleges there was a variance because Count One

 charged a drug conspiracy instead of a home invasion robbery

 conspiracy.       A variance occurs when the facts proved are different

 from the facts contained in the indictment.                   United States v.

 Keller, 916 F.2d 628, 634 (11th Cir. 1990); United States v. Gold,

 743 F.2d 800, 813 (11th Cir. 1984).             To establish that a variance

 is material, and therefore fatal to a conviction, a defendant must

 show that a variance did occur and that he suffered substantial

 prejudice as a result.           United States v. Roberts, 308 F.3d 1147,

 1156 (11th Cir. 2002); United States v. Chastain, 198 F.3d 1338,

 1349 (11th Cir. 1999).        In this case there was no variance.            As the

 Eleventh Circuit has determined, there was sufficient evidence to

 convict petitioner of the drug conspiracy charged in Count One.

       The record reflects that defense counsel did put forth a

 defense.      In    opening      statement,    counsel    told   the    jury   that

 petitioner had no participation in any of the events until the very

 end, and that there would be no evidence of his participation in

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  the crimes charged.      (Cr. Doc. #189, pp. 141-143.)                  Counsel cross-

  examined the government’s primary witnesses with the same theme,

  that petitioner was not guilty of the charged offenses.                             Thus,

  counsel elicited from the undercover officer that petitioner was

  not involved until the day of the arrest and petitioner did not

  speak to the undercover officer in the van or possess a visible

  firearm.    (Cr. Doc. #190, pp. 255, 272-73.)                 Counsel also elicited

  from the cooperating co-defendant Rohan McKay that McKay never saw

  petitioner      until   the    day    of     the        arrest,    never   talked       with

  petitioner on the telephone, did not talk to petitioner on the day

  of the arrest, and had no plan or agreement with petitioner.                            (Cr.

  Doc. #192, pp. 652-56.)              Counsel’s closing argument similarly

  focused    on    petitioner’s     lack      of      involvement       in   the    alleged

  offenses.       (Id. at 879-88.)           Petitioner himself continued this

  theme at sentencing.          Petitioner’s sole statement to the Court at

  sentencing was: “I have one thing to say.                         I know I’m innocent.

  I’m not guilty.      That’s it.”       (Cr. Doc. #195, p. 25.)

       Petitioner fails to identify any of the “government’s repeated

  misleading      characterizations      of         the    evidence”    which      were    not

  challenged by his attorney.           Therefore, petitioner has not shown

  any ineffective assistance of counsel in this regard.                              In any

  event, characterizing the evidence as supporting a drug conspiracy

  was not a mis-characterization.                   There is no requirement that

  actual cocaine exist in order to establish a drug conspiracy.



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  United States v. Sanchez, 138 F.3d 1410 (11th Cir. 1998); United

  States v. Ciszkowski, 492 F.3d 1264, 1271 (11th Cir. 2007).

                                         B.

       In   Ground   Two,   petitioner        alleges    his   attorney   provided

  constitutionally ineffective assistance by failing to properly

  request a multiple conspiracy jury instruction where the evidence

  supported a finding of more than one conspiracy. Petitioner argues

  that the evidence establishes he was not present and did not

  participate in the initial meeting with the undercover agent, two

  subsequently    recorded     telephone        conversations,      or    the   two

  subsequent    meetings    with   the    undercover      agent.    The    meeting

  petitioner did attend, he argues, provides insufficient evidence

  against him or his co-defendants as to the charged drug conspiracy,

  as opposed to a home invasion type robbery.             (Cr. Doc. #1, p. 5(f)-

  (i).)

       As discussed already, the Eleventh Circuit has found that

  there was sufficient evidence that petitioner and his co-defendants

  entered into the unlawful agreement charged in Count One of the

  Indictment.     Additionally, the record reflects that a multiple

  conspiracy    instruction    was   requested      on    petitioner’s     behalf.

  Petitioner’s attorney filed a pretrial motion requesting that he be

  allowed to automatically join in any motion or objection by co-

  defendants’ counsel unless he specifically opted out of the motion

  or objection.    (Cr. Doc. #94.)       The Court granted this motion, and

  applied it to all counsel so that unless counsel opted out they
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  were deemed to have adopted the motions and objections made by co-

  counsel.     (Cr. Doc. #189, p. 4.)          Counsel for a co-defendant did

  request    a   multiple   conspiracy         jury    instruction,   to    which

  petitioner’s attorney did not opt out.               (Cr. Doc. #192, pp. 825-

  26.)   For this reason the request was deemed to have been made by

  all defendants, including petitioner.               In light of this request,

  there is no factual basis which supports a claim of ineffective

  assistance     of   counsel   as   to    the     multiple    conspiracy   jury

  instruction request.

                                          C.

         In Ground Three, petitioner alleges that his trial attorney

  provided constitutionally ineffective assistance by failing to

  object or otherwise preserve for appeal the issues related to his

  due process and jury trial guarantees.               Specifically, petitioner

  argues that counsel failed to object on the basis that petitioner

  had only agreed to participate in a Hobbs Act type home invasion

  robbery in violation of 18 U.S.C. § 1951, and that there was never

  any evidence presented that petitioner and the others agreed to the

  drug conspiracy charged in the Indictment. (Cv. Doc. #1, p. 5(i).)

         As discussed above, there is no merit to the argument that

  there was never any evidence presented that petitioner and the

  other co-defendants agreed to the drug conspiracy charged in the

  Indictment.     Indeed, the evidence has been found sufficient to

  establish that petitioner and his co-defendants engaged in the drug



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  conspiracy as charged after a de novo review by the Eleventh

  Circuit.    Additionally, counsel did argue the lack of sufficient

  evidence. The Eleventh Circuit’s conclusion also establishes that

  petitioner did more than only agree to participate in a Hobbs Act

  home invasion robbery.      Counsel was not ineffective in failing to

  pursue a meritless argument to the contrary.

                                        D.

        In Ground Three, petitioner also asserts that the district

  court impermissibly based its sentence, at least in part, on

  factors which had not been proven beyond a reasonable doubt to the

  jury or alleged in the Indictment, and imposed a sentence beyond

  the maximum penalties otherwise allowable from the facts found by

  the jury alone.      Petitioner also argues that appellate counsel

  failed to raise these issues on appeal.           (Cv. Doc. #1, pp. 5(j),

  6(a).)     Similarly, in Ground Six petitioner alleges the district

  court erred by imposing an enhanced sentence that exceeded the

  maximum punishment otherwise lawfully allowable based solely on the

  facts pled in the Indictment and submitted to the jury.            Petitioner

  argues that the Court improperly denied most of his sentencing

  objections and incorrectly       determined that he should be held

  accountable for between 21-30 kilograms of cocaine.                Petitioner

  argues that other factors considered by the court were not pled in

  the   Indictment,   submitted    to     the   jury,   determined    beyond   a

  reasonable doubt, or admitted by petitioner.              This, petitioner


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  argues,     rendered        petitioner’s        sentence         unreasonable           and

  unconstitutional and an impermissible variance and constructive

  amendment    of    the    Indictment.         (Cv.    Doc.    #1,    pp.    6(e)-(h).)

  Petitioner essentially argues that this was constitutional error

  under Apprendi v. New Jersey, 530 U.S. 466 (2000), Blakely v.

  Washington, 542 U.S. 296 (2004), and United States v. Booker, 543

  U.S. 220 (2005).

       As the Presentence Report indicates, Counts One, Eleven and

  Twelve     were    “grouped”    for     the     purposes      of     the    Sentencing

  Guidelines.        While    petitioner       was     convicted      by   the     jury    of

  conspiracy involving “five kilograms or more” of cocaine (Cr. Doc.

  #113),    the     sentencing    court    determined          that    petitioner         was

  responsible for 20-30 kilograms of cocaine (Cr. Doc. #195, p. 6).

  Based upon this quantity, petitioner’s Base Offense Level was 34.

  The Presentence Report scored petitioner as a career offender,

  resulting in a Total Offense Level of 37 and a Criminal History

  Category    of    VI.      Defense    counsel      objected      that      one   of     the

  convictions was not a qualifying predicate offense and, after

  hearing argument, the Court agreed.                (Cr. Doc. #195, pp. 10-18.)

  This returned petitioner’s Total Offense Level to 34 and made his

  Criminal    History       Category    III,     with     a    resulting      Sentencing

  Guidelines range of 188 to 235 months.                       Count Six carried a

  statutory mandatory consecutive 60 months imprisonment. Petitioner

  was sentenced to 188 months as to Count One, and 120 months as to

  Counts    Eleven    and    Twelve     (the     statutory      maximum),        with     the

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  sentences to run concurrently with one another.        (Cr. Doc. #195, p.

  26.)    Petitioner was sentenced to 60 months imprisonment as to

  Count Six, to be served consecutively to Counts One, Eleven, and

  Twelve.   (Id.)

         Under Booker, “any fact, other than the fact of a prior

  conviction, that increases the defendant’s sentence beyond the

  prescribed statutory maximum must be admitted by the defendant or

  proved to the jury beyond a reasonable doubt.”          United States v.

  Houston, 456 F.3d 1328, 1340 (11th Cir. 2006)(citing Booker and

  Apprendi)(emphasis added), cert. denied, 127 S. Ct. 2148 (2007).

  See also United States v. Sanchez, 269 F.3d 1250, 1268 (11th Cir.

  2001)(en banc), cert. denied, 535 U.S. 942 (2002).          The Court can

  still   make   findings   of   fact   under   the   advisory    Sentencing

  Guidelines based upon the preponderance of the evidence after

  Apprendi, Blakely, and Booker.        United States v. Chau, 426 F.3d

  1318, 1323-24 (11th Cir. 2005).       In this case, the Court properly

  determined the Sentencing Guidelines range after determining the

  quantity of drugs to be attributed to petitioner and sentenced him

  within that range.        There was ample evidence to support the

  sentencing court’s determination as to the quantity of drugs

  attributable to petitioner in the conspiracy, even if no drugs

  actually existed in this reverse sting. United States v. Chirinos,

  112 F.3d 1089, 1103 (11th Cir. 1997).




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       Petitioner also argues the court erred in not granting a three

  level downward adjustment for acceptance of responsibility.                       (Cv.

  Doc. #1, p. 6(h).)         Petitioner never accepted responsibility,

  maintaining even at sentencing that he was not guilty.                  Thus, there

  was no basis for an adjustment under Sentencing Guidelines §

  3E1.1(a) for acceptance of responsibility.

       While petitioner makes reference to other sentencing factors

  which were considered but not submitted to the jury, he identifies

  none.   The only other factors impacting petitioner’s Sentencing

  Guidelines calculation were his prior convictions.                  Consideration

  of prior convictions not listed in the indictment or admitted by a

  defendant    is    not   Booker    error.          Booker,   543    U.S.    at    244;

  Almendarez-Torres v. United States, 523 U.S. 224, 226-27 (1998);

  United States v. Martinez, 434 F.3d 1318, 1323 (11th Cir.), cert.

  denied, 548 U.S. 918 (2006); United States v. Glover, 431 F.3d 744,

  749 (11th Cir. 2005).         The Court finds there was no variance or

  constructive      amendment   of   the    Indictment,        and   no   ineffective

  assistance of appellate counsel.

                                           E.

       As part of Ground Three,             petitioner argues that counsel

  provided    ineffective    assistance         by   failing    to   object    to    the

  improper sentence and thereby preserve the issue for                        appeal.

  Petitioner asserts that at the time of his trial, sentencing, and

  appeal the constitutionality of the federal Sentencing Guidelines

  had repeatedly been called into question, and therefore a competent
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  attorney would have raised the issue if only to preserve the issue

  for appeal.    (Doc. #1, pp. 5(j)-6(a).)

         The United States Supreme Court upheld the constitutionality

  of the Sentencing Guidelines in Mistretta v. United States, 488

  U.S. 361 (1989).         Petitioner’s attorney was not constitutionally

  ineffective in failing to object to the statutory Booker error

  because an attorney is not ineffective for failing to anticipate a

  change in the law.        Funchess v. Wainwright, 772 F.2d 683, 691 (11th

  Cir. 1985); Pitts v. Cook, 923 F.2d 1568, 1573-74 (11th Cir. 1991);

  Bajorski v. United States, 276 Fed. Appx. 952, 954 (11th Cir.

  2008).    Petitioner was sentenced on January 30, 2004.            Certiorari

  in Booker was granted on August 2, 2004, United States v. Booker,

  542 U.S. 956 (2004), but a grant of certiorari does not change the

  law.     Schwab v. Sec’y, Dep’t of Corr., 507 F.3d 1297 (11th Cir.

  2007).    Booker was decided on January 12, 2005.

                                           F.

         In Ground Four, petitioner argues that the cumulative effects

  of his attorney’s overall deficient performance deprived him of the

  effective assistance of counsel and a fair trial.                  Petitioner

  asserts that his attorney repeatedly failed to properly object

  during trial to the admission of certain evidence that had no

  bearing on the charges, was meant only to inflame the passions of

  the    jury   and        prejudice   petitioner,       and   was   irrelevant,

  unresponsive,       or     speculative        and   uncertain.     Petitioner

  specifically cites only a few examples.
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         Petitioner argues that his attorney failed to object: when an

  agent responded that “I guess U.S. Immigration” keeps the computer

  system with regard to alien records (Cr. Doc. #192, p. 664, ll. 14-

  15); to agent testimony with regard to some of the contents of

  petitioner’s alien file explaining the impact of a certain document

  (id. at 676, ll. 2-16); to reference to an appointment letter

  previously referred to by a co-defendant’s counsel (id. at 700, ll.

  12-15); and to a conversation between the Court and counsel at the

  jury instruction charge conference (id. at 818, ll. 11-22).               (Cv.

  Doc. #1, p. 6(a)- (b).)       The charge conference did not take place

  in front of the jury, and the Court finds no deficient performance

  in   failing    to   object   to   the    other   questions    identified    by

  petitioner.

                                           G.

         In Ground Five, petitioner argues that the Court erred by

  failing to properly instruct the jury to consider and determine the

  drug   amount   as   an   essential   element     of   the   charged   offense.

  Specifically, petitioner argues that because the instructions given

  only required the jury to determine whether five kilograms or more

  were involved in the conspiracy, the court’s jurisdiction for

  sentencing purposes was limited to finding only five kilograms.

  Petitioner argues that use of any greater amount for purposes of

  increasing petitioner’s sentence beyond that allowed under the

  applicable Offense Levels offended petitioner’s Fifth Amendment Due

  Process protection, the Fifth Amendment Grand Jury guarantees, and
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  the Sixth Amendment Jury guarantees.          The sentence imposed was

  therefore improper because more than five kilograms was attributed

  to petitioner. Additionally, petitioner argues this constructively

  amended the indictment.      (Cv. Doc. #1, pp. 6(c)-(e).)

       It is clear that the amount of drugs is not an element of a

  drug offense.    United States v. Sanchez, 269 F.3d 1250, 1268 (11th

  Cir. 2001)(en banc).       Where the statutory maximum sentence is

  increased by a quantity of drugs above a certain threshold amount,

  a jury must decide whether that threshold amount has been proven

  beyond a reasonable doubt.      The precise amount of drugs above that

  amount, however, remains to be determined by the court applying a

  preponderance of the evidence standard. In this case, the jury was

  instructed as to the five kilograms or more, and returned a verdict

  finding five kilograms or more.       Therefore, there was no error in

  the jury instructions.

       There was no proper basis for counsel to challenge the drug

  quantity at sentencing or on direct appeal, and an objection that

  the case involved no cocaine at all was not legally sound.         None of

  petitioner’s rights were violated, and therefore this issue is

  without merit.

                                      H.

       In Ground Seven, petitioner argues that the Court erred by

  imposing multiple punishments under different criminal statutes for

  virtually the same criminal conduct in violation of the Fifth

  Amendment’s Double Jeopardy clause.        Petitioner argues that Counts
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  Six (with using and carrying a firearm and possession of a firearm

  in   furtherance   of   a   drug   trafficking     crime),   Count   Eleven

  (possession of a firearm by a convicted felon), and Count Twelve

  (possession of a firearm by an illegal alien) do not allow the

  imposition of separate sentences.          (Cv. Doc. #1, pp. 6(h)-(l).)

       A double jeopardy claim is reviewed as a question of law.

  United States v. Dowd, 451 F.3d 1244, 1251 (11th Cir. 2006), cert.

  denied, 127 S. Ct. 335 (2006).             Imposition of the consecutive

  sentence for the § 924(c) conviction in Count Six did not violate

  the Double Jeopardy Clause because Congress specifically authorized

  such additional punishment.        Dowd, 451 F.3d at 1251-52; United

  States v. Strickland, 261 F.3d 1271, 1273 (11th Cir. 2001), cert.

  denied, 534 U.S. 1099 (2002).          Petitioner received concurrent

  sentences as to Counts Eleven and Twelve.            Therefore, no error

  occurred in the sentencing.

       Accordingly, it is now

       ORDERED:

       1.    Petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

  Aside, and to Correct, Sentence By a Person in Federal Custody

  (Doc. #1) is DENIED as to all claims for the reasons set forth

  above.

       2.    Petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

  Aside, and to Correct, Sentence By a Person in Federal Custody

  (Doc. #6) is DISMISSED as a duplicate copy of Doc. #1.


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       3.   The Clerk of the Court shall enter judgment accordingly

  and close the civil file.        The Clerk shall place a copy of the

  civil Judgment in the criminal file.

       DONE AND ORDERED at Fort Myers, Florida, this           9th    day of

  January, 2009.




  Copies:
  AUSA Michelland
  Damian Fitzgerald Miller




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